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                  IN THE UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF TEXAS – BROWNSVILLE DIVISION

JENNIFER SCARBOROUGH,


       Petitioner,                                   Civil Misc. Action No. 1:22-mc-00100

v.                                                   Judge Fernando Rodriguez, Jr.

LOZANO ET AL;

       Respondents.


           MEMORANDUM IN OPPOSITION TO PETITIONER’S
MOTION TO QUASH THIRD-PARTY SUBPOENA AND FOR PROTECTIVE ORDER

                                          Introduction

       The issue before the Court is to determine whether Petitioner Jennifer Scarborough

(“Scarborough”) has demonstrated grounds exist under Fed. R. Civ. P. 45(d) that allow her to

avoid responding to the third-party subpoena Respondents Alexandra Lozano, Angelyne

Lisinski, and Giulia Fantacci (collectively, “Respondents”) served on Scarborough on August 23,

2022, in Harlingen, Texas (the “Subpoena”). In Scarborough’s Motion to Quash Third-Party

Subpoena and for Protective Order (“Motion” or “Mot”, Doc. 1), Scarborough offers virtually no

evidence to that effect. This is because the Subpoena is properly limited in scope, and is in

compliance with all the requirements of Fed. R. Civ. P. 45.

       Instead, Scarborough argues that because the Southern District of Ohio (the issuing court)

lacks personal jurisdiction over Scarborough, she is not required to comply with that subpoena.

(Motion at 13-17). Scarborough misses the point: Whether the Southern District of Ohio has

personal jurisdiction over her has literally nothing to do with her duty to comply with the

subpoena pursuant to Fed. R. Civ. P. 45. As this Court is well aware, the extensive amendments
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to Fed. R. Civ. P. 45 enacted in 1991 and 2013, expressly permit nationwide service of third-

party subpoenas. The case law that Scarborough relies upon is outdated and inapposite. At its

core, Scarborough’s argument is incorrect because the Subpoena’s “place of compliance” (and

the forum for enforcement) as defined in Fed. R. Civ. P. 45, is in this very district, the Southern

District of Texas, which undoubtedly has personal jurisdiction over Scarborough. Thus,

Scarborough’s argument is without merit, and the Respondents respectfully request the Court

deny Scarborough’s Motion in its entirety and order her compliance with the perfectly valid

subpoena.

                                       Factual Background

       A.      Respondents Are The Target Of A Two-Year Defamatory Harassment
               Campaign By Anonymous Online Detractors And Competitors.

       As alleged in their Complaint (Mot. Exh. E, Doc. 1-5), Respondents are immigration

attorneys who operate their own successful law firms. They each have specialized knowledge of

Violence Against Women Act (“VAWA”) visas and Victims of Trafficking in Person or “T”

visas, which are misunderstood and underutilized. (Compl. ¶ 10). Each of Respondents also use

trademarks in their practices for educational and marketing purposes. (Id. ¶¶ 11-23).

       In or around August 2020, Respondents became the target of a defamatory,

discriminatory harassment campaign by anonymous individuals online (the “Doe Defendants”).

(Id. ¶ 27). At the start, the Doe Defendants targeted Respondents’ accounts on the social media

platform TikTok, Inc. (“TikTok”). (Id.) The campaign was aimed at disrupting Respondents’

ability to educate potential clients about VAWA and T visas, and prohibit Respondents from

marketing their services. The campaign also defamed Respondents by painting their ethical and

successful legal practices as illegal and scams. The campaign escalated to the point where each




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of Respondents were banned by TikTok at multiple times over the last year due to these

defamatory and harassing efforts by Defendants. (Id. ¶¶ 31-32, 34, 41, 46-47, 52).

       Doe Defendants then spread their campaign to other social media platforms. (Id. ¶ 56).

For example, Doe Defendants have reported marketing content, paid advertising, and organic

posts on Facebook, and have spammed review websites such as Facebook and Google, all in an

unlawful campaign purposely designed to disrupt Respondents’ ability to help the undocumented

immigrant population. (Id.).

       Doe Defendants then escalated their attacks on Respondents by creating imposter

accounts on social media platforms to further dissuade members of the undocumented

community from trusting and utilizing Respondents’ services. (Id. ¶ 57). These imposter

accounts have contacted Respondents’ current and prospective clients, requesting money,

making defamatory comments, and using Respondents’ trademarks as a part of the harassment

campaign. (Id. ¶¶ 58-68).

       B.     Respondents Have Been Unable to Identify Their Anonymous Harassers,
              And Were Therefore Granted Leave To Serve Third Party Subpoenas.

       Because the attacks have been conducted online, through third party platforms, and

anonymously, Respondents have been unable to ascertain the identities of their harassers. The

only way Respondents can obtain the names of the individuals who are methodically and

tortuously damaging Respondents each day is through third party subpoenas. Therefore,

Respondents sought leave from the Southern District of Ohio (where the Complaint is pending)

for limited discovery to determine the identity of the individuals promulgating the defamatory

statements concerning Respondents. The Southern District of Ohio granted Respondents leave

to issue third party subpoenas, including subpoenas to individuals known to Respondents who

are believed to be connected to the defamation and infringement campaign, and who are believed

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to know the identities of the individuals defaming Respondents. (Opinion and Order, Aug. 12,

2022, Mot. Exh. D, Doc. 1-4). This includes Petitioner Scarborough.

       C.      Petitioner Scarborough Has Heard Defamatory Statements Regarding
               Respondents.

       Scarborough’s Motion makes clear that Scarborough, at the very least, has heard

defamatory statements concerning Respondents and thus had information directly relevant to the

subpoena and Respondents’ lawsuit. To begin, Scarborough mischaracterizes Respondent

Lozano’s advertising, and specifically her use of the phrase “arreglar sin salir” (which translates

to “obtain documents without leaving the country”) (Mot. at 3). Scarborough implies Lozano

tells “most” prospective clients they are eligible for VAWA or T-Visas, which is simply not true

and rings markedly similar to known defamatory statements that have been made against

Lozano. Scarborough notes that she is aware of the “leading immigration attorneys” who have

publicly criticized (and defamed) Lozano, thereby outright admitting that she knows of

individuals who have engaged in the very conduct alleged in Respondents’ Complaint. (Mot. at

3-4). Scarborough claims “on information and belief” that Lozano charges her clients $20,000 or

more per VAWA case—which is also not true and also aligns closely with other defamatory

remarks that have been made about Lozano. (Mot. at 4). Evidently, someone told Scarborough

this false information, and that someone may very well be the Doe Defendant(s) Respondents

were granted discovery to identify. Likewise, Scarborough claims that the American

Immigration Lawyers Association (“AILA”) condemned Respondents’ social media marketing,

but none of Respondents’ names appear in the cited article, nor does the article describe how

Respondents actually market their services. (Id.). Again, Scarborough must have been told that

this was the case by someone, which renders her knowledge squarely within the purview of

Respondents’ case.

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       Significantly, in her Motion, Scarborough discusses her Washington State Bar

Association (“WSBA”) Complaint against Lozano, but misinforms the Court as to Lozano’s

compliance with that Complaint—again repeating false statements. Scarborough claims Lozano

did not comply with document requests from the WSBA, but in an August 29, 2022 letter to

Scarborough, the WSBA informed Scarborough that Lozano responded to the January 14, 2022

document request (attached to the Motion at Exh. G, Doc. 1-7) on February 4, 2022. (See Ltr. to

Scarborough from F. D’Angelo, Aug. 29, 2022, attached as Exh. 1). Scarborough plainly has

heard false and defamatory information regarding the Respondents, as she repeated some of

those false statements in her Motion and attached declaration. Accordingly, Scarborough has

information that is relevant to Respondents’ lawsuit due to the statements made in her Motion.

       D.      Counsel Met and Conferred Regarding the Scope of the Subpoena.

       On August 23, 2022, Respondents served the Subpoena on Petitioner, with a return date

of September 12, 2022--providing some 20 days for compliance. On September 6, 2022, 14 days

after the Subpoena was served, and the final day for objections to be served on Respondents,

Petitioner’s counsel emailed Respondents asserting general objections as to “relevance, undue

burden, and privilege,” and requesting an extension of the deposition. (See Email chain between

A. Maldonado and K. Fraser, Sept. 6, 2022, attached as Exh. 2). Respondents’ counsel

responded, offering a one week extension for the deposition, and noting that: 1) Respondents

were not seeking disclosure of privileged information; 2) a limited deposition just down the road

from Scarborough’s office, determining the extent of Scarborough’s knowledge regarding the

identity of individuals who are defaming Respondents was not burdensome; 3) that Respondents

were open to discussing the scope of the document requests if the volume of potentially




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responsive documents was in fact overly burdensome; and 4) that Scarborough had information

relevant to the identities of individuals who are defaming Respondents. (Id.)

       Counsel met and conferred regarding the Subpoena and Respondents offered to prepare a

review protocol with agreed search terms and methods for finding responsive documents. That

proposed protocol was sent to Petitioner’s counsel on September 13, 2022, inviting comments.

(See Email from K. Fraser to A. Maldonado, Sept. 13, 2022, attached as Exh. 3). Over the

phone, on September 16, 2022, Petitioner’s counsel rejected the protocol without providing

comments, refused to produce any documents, and sought to limit Petitioner’s deposition to the

issue of personal jurisdiction and her contacts with Ohio. (Mot. at 2). Because Petitioner

asserted no privilege (or privilege log) that justified the withholding of documents, provided no

information regarding the volume of potentially responsive documents under the protocol so that

Respondents could evaluate the alleged undue burden associated with responding to the

subpoena, and because there was no legal basis to restrict the scope of the deposition to

Scarborough’s contacts with Ohio, Respondents did not agree to Petitioner’s proposal. This

Motion followed.

                                          Legal Standard

        Fed. R. Civ. P. 45(d)(3) requires a subpoena be quashed or modified when the subpoena:

(i) fails to allow reasonable time to comply; (ii) requires a person to comply beyond the

geographical limits specified in Rule 45(c); (iii) requires disclosure of privileged or protected

matter, if no exception or waiver applies; or, (iv) subjects a person to undue burden. “A party

resisting discovery must show how the requested discovery was overly broad, burdensome, or

oppressive by submitting affidavits or offering evidence revealing the nature of the burden.”

Gray-Standberry v. Ashley Distribution Servs., Ltd., No. 6:20-CV-00638, 2021 WL 2792984 *3



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(W.D. Texas, Mar. 3, 2021) (quoting Areizaga v. ADW Corp., 314 F.R.D. 428, 434 (N.D. Tex.

2016). Indeed, it is “highly problematic” when a motion to quash provides “no evidence” that a

subpoena is “over-broad” or “irrelevant.” Gray-Standberry, 2021 WL 2792984 at *3.

       To prove that a subpoena imposes an undue burden, the moving party must prove that

compliance with the subpoena would be “unreasonable and oppressive.” Wiwi v. Royal Dutch

Petroleum Co., 392 F.3d 812, 818 (5th Cir. 2004). To evaluate undue burden, courts examine

the relevance of the information requested, the need for the requested documents, the breadth of

the request, the time period covered by the request, the particularity with which the party

describes the relevant documents, and the burden imposed. Id. Finally, courts favor

modification over outright quashing of subpoenas. Id.

                                            Argument

       The Court should deny Petitioner’s Motion because Petitioner’s personal jurisdiction

argument is fundamentally incorrect, and provides Petitioner with no basis for quashing the

Subpoena. Second, Petitioner provides no evidence that compliance with the Subpoena presents

an undue burden or that there is some other basis under Fed. R. Civ. P. 26 to enter a protective

order. Indeed, much of Petitioner’s affidavit indicates that compliance would not be burdensome

at all. Therefore, the Court should deny the Motion in its entirety and Petitioner should be made

to produce documents and sit for the requested deposition.

       A.      Fed. R. Civ. P. 45 Addresses Petitioners’ Personal Jurisdiction Concerns,
               Rendering Petitioner’s Argument Moot.

       The only argument Petitioner forwards in support of her Motion is that complying with

the Subpoena presents an undue burden because she is not subject to personal jurisdiction in the

Southern District of Ohio. This argument misses the mark, because Respondents are not seeking

compliance with a Subpoena in the Southern District of Ohio. They are seeking compliance in

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the Southern District of Texas, pursuant to Fed. R. Civ. P. 45. The Southern District of Texas

does have personal jurisdiction over Scarborough. As such, there is no undue burden in

complying with the Subpoena, and the motion should be denied.

               1.      The Court Responsible For Enforcing Subpoenas Issued By A Federal
                       Court Has The Jurisdiction To Compel Compliance Or Quash The
                       Subpoena.

       A federal court’s subpoena power is not limited to individuals only subject to personal

jurisdiction in that court. The Court need only to consult the language of Fed. R. Civ. P. 45 to

see that this is so. The rule references the “issuing court” and the “place of compliance.” The

issuing court is the court where the action is pending. See Fed. R. Civ. P. 45(a)(2). The place of

compliance must be within 100 miles of where the person, resides, is employed, or regularly

transacts business. See Fed. R. Civ. P. 45(c). Notably, the issuing court need not be within 100

miles of where the person resides, is employed, or regularly transacts business. Indeed, if the

issuing court is not within 100 miles of where the person resides, is employed, or regularly

transacts business, then the court for the district where compliance is required is charged with

enforcing the subpoena. See Fed. R. Civ. P. 45(d), (g). In other words, the court for the district

where compliance is required is the court that compels a party to respond to a subpoena, that

quashes subpoenas, and holds noncompliant parties in contempt.

       By definition, the court for the district where compliance is required has personal

jurisdiction over a subpoenaed person because it is where the subpoenaed person resides, is

employed, or regularly transacts business. Residing, being employed in, or regularly transacting

business in a forum certainly satisfies the minimum contacts and due process requirements of the

United States Constitution. See Int'l Shoe Co. v. State of Wash., Off. of Unemployment Comp. &

Placement, 326 U.S. 310, 316, 66 S. Ct. 154, 158, 90 L. Ed. 95 (1945) (“[D]ue process requires



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only that in order to subject a defendant to a judgment in personam, if he be not present within

the territory of the forum, he have certain minimum contacts with it such that the maintenance of

the suit does not offend traditional notions of fair play and substantial justice”). Therefore, Fed.

R. Civ. P. 45 incorporates and accounts for due process considerations, and renders personal

jurisdiction arguments regarding subpoenas moot.

       The Advisory Comments to Fed. R. Civ. P. 45 say the same. Specifically, the comments

recognize that the 2013 Amendments to the rule “permit nationwide service of a subpoena.”

(CITE). However, “[t]o protect local nonparties, local resolution of disputes about subpoenas is

assured by the limitations of Rule 45(c) and the requirements in Rules 45(d) and (e) that motions

be made in the court in which compliance is required under Rule 45(c).” Id.

       Here, the Subpoena complied with all the requirements of Fed. R. Civ. P. 45. It issued

out of the Southern District of Ohio. Fed. R. Civ. P. 45(a)(1) and (2). The place for compliance

in the Subpoena is the Harlingen Public Library, less than one mile from Scarborough’s place of

employment. (See Subpoena, Mot. Exh. A, Doc. 1-1). This satisfies the 100-mile requirement of

Fed. R. Civ. P. 45(c)(A). That makes this Court, the Southern District of Texas, the court for the

district where compliance is required. It is this Court that has the power to enforce or quash the

subpoena—not the Southern District of Ohio. And Scarborough is without a doubt subject to

personal jurisdiction in this Court. (See J. Scarborough Decl. ¶ 1, Sept. 19, 2022, Mot. Exh. B,

Doc. 1-2, hereafter, “Scarborough Decl.”). Scarborough’s concerns regarding the jurisdiction of

the Southern District of Ohio and Ohio’s long-arm statute are mooted by the language of Fed. R.

Civ. P. 45 itself. Therefore, the fact that the Subpoena issued from the Southern District of Ohio




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does not mean that Scarborough does not need to comply with it, because it is enforced here, in

the Southern District of Texas, which has personal jurisdiction over Scarborough. 1

               2.      The Case Law Petitioner Cites In Support Of Her Personal
                       Jurisdiction Argument Is Either Antiquated Or Inapposite.

       The case law Petitioner cites in support of her personal jurisdiction argument is wholly

inapplicable here because this Court—the Southern District of Texas, which is the enforcing

court—has personal jurisdiction over Scarborough and can compel her compliance with the

Subpoena. Despite that fundamental flaw in Petitioner’s argument, the case law she cites is

antiquated or inapposite.

       Application to Enforce Administrative Subpoenas Duces Tecum of S.E.C. v. Knowles, 87

F.3d 413 (10th Cir. 1996) concerns an administrative subpoena issued by the Securities Exchange

Commission. Id.at 416. Because Congress authorized worldwide service under the Securities

Exchange Act, the question in Knowles was whether a Bahamian citizen had minimum contacts

with the United States such that a federal court could enforce a subpoena over him. Id. at 417.

The Tenth Circuit made clear that the only issue was whether the foreign national had sufficient

contacts with the United States, noting that “[s]pecific contacts within the district in which

enforcement is sought, in this case Colorado, are unnecessary.” Id. This inquiry is wholly

distinguishable from this case, and if it were applicable, it would support Respondents’ position,

not Petitioner’s—obviously Petitioner has minimum contacts with the United States. Even more,

she certainly has minimum contacts “within the district in which enforcement is sought” which is




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        In making this argument, Respondents do not concede that the Southern District of Ohio
does not have personal jurisdiction over Scarborough. Respondents simply argue that the
question of whether the Southern District of Ohio has personal jurisdiction over her is irrelevant
to her duty to comply with a properly issued subpoena where the place of compliance is in this
district—the Southern District of Texas.
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this court—the Southern District of Texas. Likewise, Gucci Am., et al v. Weixing Li, 768 F.3d

122 (2d. Cir. 2014) concerns a subpoena to the Bank of China—again not a U.S. citizen.

        Both Ariel v. Jones, 693 F.2d 1058 (11th Cir. 1982), and Elder-Beerman Stores Corp. v.

Federated Dept. Stores, Inc., 45 F.R.D. 515 (S.D.N.Y. 1968) predate the modern Fed. R. Civ. P.

45 amendments by 31 and 45 years respectively. In Ariel v. Jones, the 11th Circuit took issue

with a federal court in Florida requiring compliance with a subpoena in Florida. 693 F.2d at

1060. Citing the 1982 edition of Moore’s Federal Practice, the court noted that an out of forum

witness requires recourse “to the district court in the district of the witness’s residence for the

issuance and enforcement of a subpoena.” Id. But the modern Fed. R. Civ. P. 45 solves this

problem—it requires the issuance of a subpoena from the forum where the action is pending, but

enforcement in the district court where the witness is located, giving the witness recourse in her

local district court. Remember that in the case before this Court, the subpoena issued from the

Southern District of Ohio, but the place of compliance is here in the Southern District of Texas.

Scarborough was never asked to come to the Southern District of Ohio, or to bring documents to

the Southern District of Ohio. Elder-Beerman only considered whether a nonparty was

sufficiently present in the district so as to subject it to legal process there. 45 F.R.D. at 516.

That case has absolutely no bearing on the modern Fed. R. Civ. P. 45, and is also wholly

inapposite because Respondents are not requesting compliance in the Southern District of Ohio.

They are properly requesting compliance in the Southern District of Texas, which has personal

jurisdiction over Scarborough. See Europlay Cap. Advisors, LLC v. Does, 323 F.R.D. 628, 630

(C.D. Cal. 2018).

        At bottom, Scarborough’s Motion is without merit. Every day, nonparty witnesses are

subpoenaed for information in cases pending nationwide—both in federal and state court. And



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federal and state law provides mechanisms to allow that discovery to proceed with Due Process

considerations in mind, either through domestication of subpoenas in state courts, or through

making local courts responsible for enforcing subpoenas as in federal court. To argue that

litigants may only take discovery from individuals subject to the jurisdiction of the court where

the action is pending would gut Fed. R. Civ. P. 45, hamstring litigants throughout the United

States, and make complex civil litigation virtually impossible. Not only is Scarborough’s

Motion wrong, it’s wholly impractical. Respondents followed the letter of Fed. R. Civ. P. 45 to

the tee, and thus Scarborough is obligated to comply with the Subpoena. Accordingly,

Respondents request that the Court deny Scarborough’s Motion to Quash in total.

       B.      There Is No Basis For The Requested Protective Order.

       Should her Motion to Quash fail, Petitioner requests that the Court enter a protective

order limiting discovery to Scarborough’s contacts with Ohio, and expressly excluding the

phrase “arreglar sin salir.” However, beyond conclusory statements, Petitioner has not

demonstrated how the requested discovery subjects Petitioner to “annoyance, embarrassment,

oppression, or undue burden or expense,” that would entitle her to a protective order as required

by Fed. R. Civ. P. 26(c). This Circuit requires that a movant show the “necessity” of a protective

order, “which contemplates a particular and specific demonstration of fact as distinguished from

stereotyped and conclusory statements.” United States v. Garrett, 571 F.2d 1323, 1326 n.3 (5th

Cir. 1978). Petitioner’s request for a protective order fails for three reasons. First, Petitioner has

waived her objections to the Subpoena because she has failed to object to the Subpoena’s

requests with the necessary specificity. Second, Petitioner has not provided the Court with

particular evidence that compliance with the Subpoena would subject her to undue burden or

expense. Third, the Subpoena has been authorized by the Southern District of Ohio, and is



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narrowly tailored for its limited purpose—that is determining the identities of the individuals

who are defaming respondents.

       To date, Petitioner has only submitted general, boiler-plate, unsupported objections to the

Subpoena, which violates the Federal Rules, and renders those objections invalid. See Heller v.

City of Dallas, 303 F.R.D. 466, 483 (N.D. Tex. 2014); Am. Fed'n of Musicians of the United

States & Canada v. Skodam Films, LLC, 313 F.R.D. 39, 47 (N.D. Tex. 2015) (extending Fed. R.

Civ. P. 34(b) and Heller’s prohibition on general objections to responses to subpoenas served

pursuant to Fed. R. Civ. P. 45). It is well established that simply stating a discovery request is

“overly broad, burdensome, oppressive, and irrelevant” is “not adequate to voice a successful

objection.” McLeod, Alexander, Powel & Apffel, P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir.

1990). Here, Petitioner’s counsel emailed Respondents’ counsel, stating Petitioner objected to

the Subpoena as to “relevance, undue burden, and privilege.” (See Exh. 2). Likewise, in the

Motion, Petitioner asserts that the Subpoena is “unduly burdensome, overly broad, lacks

proportionality, and the testimony and documents requested are not relevant to the claims in

[Respondents]’ Complaint,” without any specificity. (Mot. at 6). Thus, Petitioner has waived

objections as to the scope of the Subpoena, and there is no basis for a protective order.

        Relatedly, Petitioner has not submitted any facts or evidence that demonstrate complying

with the Subpoena would subject Petitioner to undue burden. Scarborough’s Motion and

declaration do not provide any insight into the volume of potentially responsive documents.

Instead, Scarborough’s declaration seems to indicate that the universe of potentially responsive

documents would be small and easily identifiable, and that the deposition would be short, given

her scope of knowledge. (Scarborough Decl. ¶¶ 16-18, 25). Further, on its face, the Subpoena is

not unduly burdensome. It seeks documents on four specific topics for a limited time period of



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two years, and does not require production of documents in native form (which would be much

more expensive). The deposition, likewise, imposes little burden because it is limited in scope,

and is scheduled to take place less than a mile from Scarborough’s office. Because Petitioner

has not supported her claims of undue burden with any specific evidence, her request for a

protective order should be denied. See Garrett, 571 F.2d 1323, 1326 n.3.

       Finally, the Subpoena seeks information that is relevant to Respondents’ Complaint, and

that is the identity of the Doe Defendants. The Southern District of Ohio authorized

Respondents to seek discovery from third parties, finding the requested discovery to be necessary

to revealing the identities of the Doe Defendants. (Order at 3, Mot. Exh. D, Doc. 1-4).

Specifically, the Court authorized subpoenas of individuals “to determine the extent of those

individuals’ knowledge regarding the defamatory campaign, and their knowledge of the

defamers’ identities.” (Id.). That is all that Respondents seek from Scarborough. The requested

information is narrow and relevant. Petitioner’s request that the Subpoena be limited to

Scarborough’s contacts with Ohio and expressly exclude the phrase “arreglar sin salir” is

inconsistent with the discovery authorized by the Southern District of Ohio. Scarborough is not

a party, and thus whether the Southern District of Ohio has personal jurisdiction over her is an

irrelevant inquiry.

       Instead the relevant inquiry is into Scarborough’s knowledge regarding the origin of the

defamatory statements and campaign against Respondents. As explained above, Scarborough’s

motion plainly indicates that she has knowledge relevant to this narrow issue. Scarborough

repeats untrue statements regarding Lozano’s advertising. (Mot. at 3-4). Scarborough claims to

have information regarding what Lozano charges for her work and how Lozano puts her cases

together, even though Scarborough has never been a client of Lozano’s. (Id. at 4). Scarborough



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claims that the AILA condemned Respondents’ social media marketing, but none of

Respondents are named in the AILA article. (Id.). And Scarborough was specifically told by the

WSBA that Lozano had complied with document requests, but chose to tell the Court that

Lozano had not complied with those requests. (Supra at 4). Scarborough got all of this

information from somewhere. And Respondents believe that source is also responsible for the

defamation campaign. Thus, Scarborough has relevant information, and Respondents are

entitled to examine Scarborough as to the extent of this relevant knowledge.

       Respondents have been willing to work with Scarborough and her counsel to ensure that

the document production as well as the deposition are not overly burdensome. But Scarborough

never provided Respondents with information as to how the deposition or document production

is overly burdensome, and essentially stopped working with Respondents once she determined

personal jurisdiction was the lynchpin of her duty to comply with the Subpoena—which it is not.

Likewise, Scarborough has failed to demonstrate to this Court why a protective order is required

here. Respondents remain willing to work with Scarborough to facilitate the document review

and are committed to following the Order of the Southern District of Ohio, and limiting the

deposition to uncovering the identities of the Doe Defendants. Thus, the protective order

requested by Scarborough should be denied, and the discovery should proceed.

                                           Conclusion

       This Court has personal jurisdiction over Scarborough, and by rule, this Court is the court

charged with enforcing the Subpoena. As such, there is no basis to quash the Subpoena for lack

of personal jurisdiction. Further, there is no basis for the entry of Scarborough’s requested

protective order: the Subpoena’s document requests and requested deposition are targeted at

identifying the Doe Defendants, and are thus relevant and proportional to the needs of the case.



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For these reasons, and the reasons identified above, Respondents request that the Court deny

Scarborough’s Motion in its entirety, and that the deposition be scheduled promptly.

Date: October 10, 2022                           Respectfully submitted,

                                                  /s/ Kirsten R. Fraser
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 10, 2022, the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system and was served on all

counsel of record.




                                                    /s/ Kirsten R. Fraser
                                                   Attorney for Respondents




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